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                               IN THE UNITED STATES COURT OF APPEALS
                                       FOR THE FOURTH CIRCUIT

                                                        *
        UNITED STATES OF AMERICA
                                                        *
               v.                                             No. 07-4060
                                                        *        (07-4059-L)
        PAULETTE MARTIN
                                                        *

        *      *       *       *       *       *        *     *        *       *        *     *       *

                                   MOTION TO RESCIND BRIEFING ORDER

                       Comes now Appellant herein, Paulette Martin, by and through her counsel, Michael

        D. Montemarano, Esq., and Michael D. Montemarano, P.A., as appointed counsel pursuant to the

        CJA, and as lead counsel in this joint appeal, and does move on behalf of Appellant Lanora Ali to

        rescind the briefing order previously issued in this matter, and on behalf of certain other Appellants

        does move for appropriate relief, and in support thereof does state:

                1.     This Court previously has rescinded the briefing order on April 16, 2010.

                2.     This delay was ordered by the Court pending the resolution of the Motion for

        Temporary Stay of Appeal, filed on behalf of four of the Appellants herein on April 15, 2010. The

        government filed a response to this Motion, etc., on April 16, 2010.

                3.     Subsequent to the filing of the Motion, etc., counsel for Appellant was informed by

        counsel for Appellant Ali that the transcript of Ali’s sentencing, which took place on December 19,

        2006, was not in his possession. Ali intends to challenge her sentence as part of this joint appeal.

                4.     The Office of the Clerk has informed undersigned counsel that there may have been

        a problem in this matter resulting from the format in which the transcript previously was ordered.

        The transcript has been ordered by counsel for Ali, using the Court’s appropriate forms, this date.
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                5.       Accordingly, Appellants request that the briefing order be rescinded for a period of

        at least 30 days, to permit time for the preparation and review of this transcript.

                6.       Counsel for Appellant is authorized to state that counsel for Appellee, Assistant

        United States Attorney Deborah Johnston, consents to the grant of the requested relief.

                                                        Respectfully submitted,




        April 19, 2010                                          /s/
                                                        MICHAEL D. MONTEMARANO

                                                        Michael D. Montemarano, P.A.
                                                        5695 Main Street, Suite 201
                                                        Elkridge, Maryland 21075-5016
                                                        (410) 379-0067/Fax 540-9950
                                                        Counsel of Record/CJA Counsel
                                                              For Appellant




                                          CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on or before this 19th day of April, 2010, a copy of the foregoing
        Motion to Rescind Briefing Order was filed via CM-ECF, and served via direct email, on Deborah
        Johnston, Assistant United States Attorney, 400 US Courthouse, 6500 Cherrywood Lane, Greenbelt,
        MD 20770, counsel for Appellee.



                                                               /s/
                                                        MICHAEL D. MONTEMARANO




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